                                  Case 20-11170-LSS                  Doc 1        Filed 05/20/20           Page 1 of 21


Fill in this information to identify your case:

United States Bankruptcy Court for the:

DISTRICT OF DELAWARE

Case number (if known)                                                      Chapter       7
                                                                                                                             Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                IntegraMed America, Inc.

2.   All other names debtor
     used in the last 8 years
     Include any assumed
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  2 Manhattanville Road
                                  Purchase, NY 10577
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Westchester                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                  Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                     Partnership (excluding LLP)
                                     Other. Specify:




Official Form 201                          Voluntary Petition for Non-Individuals Filing for Bankruptcy                                              page 1
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Debtor    IntegraMed America, Inc.                                                                      Case number (if known)
          Name



7.   Describe debtor's business         A. Check one:
                                           Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                           Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                           Railroad (as defined in 11 U.S.C. § 101(44))
                                           Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                           Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                           Clearing Bank (as defined in 11 U.S.C. § 781(3))
                                           None of the above

                                        B. Check all that apply
                                         Tax-exempt entity (as described in 26 U.S.C. §501)
                                         Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                         Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                        C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                           See http://www.uscourts.gov/four-digit-national-association-naics-codes.
                                                 5611

8.   Under which chapter of the         Check one:
     Bankruptcy Code is the
     debtor filing?                        Chapter 7
                                           Chapter 9
     A debtor who is a “small              Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                     noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                      $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                   operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                              exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.                                    debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                  proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                  balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                  any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                  accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                  Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                  Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                  (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                           Chapter 12

9.   Were prior bankruptcy
     cases filed by or against
                                         No.
     the debtor within the last 8        Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                 When                                  Case number
                                                  District                                 When                                  Case number


10. Are any bankruptcy cases             No
    pending or being filed by a
    business partner or an               Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor     See attached Rider 1                                            Relationship
                                                  District                                 When                              Case number, if known


Official Form 201                               Voluntary Petition for Non-Individuals Filing for Bankruptcy                                               page 2
                                Case 20-11170-LSS                      Doc 1      Filed 05/20/20             Page 3 of 21
Debtor   IntegraMed America, Inc.                                                                Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                      Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                       preceding the date of this petition or for a longer part of such 180 days than in any other district.

                                      A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.


12. Does the debtor own or       No
    have possession of any
    real property or personal    Yes.     Answer below for each property that needs immediate attention. Attach additional sheets if needed.
    property that needs
    immediate attention?                   Why does the property need immediate attention? (Check all that apply.)
                                            It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                             What is the hazard?
                                            It needs to be physically secured or protected from the weather.
                                            It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                             livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).

                                            Other        See attached Rider 2
                                           Where is the property?
                                                                            Number, Street, City, State & ZIP Code
                                           Is the property insured?
                                            No
                                            Yes.       Insurance agency    Alliant
                                                        Contact name        Jennifer Brandt
                                                        Phone               615-324-1198


         Statistical and administrative information

13. Debtor's estimation of      .       Check one:
    available funds
                                         Funds will be available for distribution to unsecured creditors.
                                         After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of          1-49                                           1,000-5,000                               25,001-50,000
    creditors                    50-99                                          5001-10,000                               50,001-100,000
                                 100-199                                        10,001-25,000                             More than100,000
                                 200-999

15. Estimated Assets             $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion

16. Estimated liabilities        $0 - $50,000                                   $1,000,001 - $10 million                  $500,000,001 - $1 billion
                                 $50,001 - $100,000                             $10,000,001 - $50 million                 $1,000,000,001 - $10 billion
                                 $100,001 - $500,000                            $50,000,001 - $100 million                $10,000,000,001 - $50 billion
                                 $500,001 - $1 million                          $100,000,001 - $500 million               More than $50 billion




Official Form 201                         Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    IntegraMed America, Inc.                                                                 Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      May 20, 2020
                                                  MM / DD / YYYY


                             X   /s/ F. Richard Dietz, Jr.                                                F. Richard Dietz, Jr.
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Interim Chief Executive Officer




18. Signature of attorney    X   /s/ Andrew L. Magaziner                                                   Date May 20, 2020
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Andrew L. Magaziner
                                 Printed name

                                 Young Conaway Stargatt & Taylor, LLP
                                 Firm name

                                 Rodney Square
                                 1000 N. King Street
                                 Wilmington, DE 19801
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (302) 571-6600                Email address      amagaziner@ycst.com

                                 5426 DE
                                 Bar number and State




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                                               Rider 1

Pending Bankruptcy Cases Filed by the Debtor and Affiliates of the Debtor

On the date hereof, each of the entities listed below filed a petition in this court for relief under
chapter 7 of title 11 of the United States Code.

   1. IntegraMed Holding Corp.

   2. IntegraMed America, Inc.

   3. Trellis Health LLC

   4. IntegraMed Fertility Holding Corp.

   5. Reproductive Partners, Inc.

   6. IntegraMed Management of Bridgeport, LLC

   7. IntegraMed Florida Holdings, LLC

   8. IntegraMed Management of Mobile, LLC

   9. IntegraMed Management, LLC

   10. IntregraMed Medical Missouri, LLC
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                                                   Rider 2

Prepetition Sale

On May 11, 2020, IntegraMed America, Inc. sold certain of its information technology assets to a new
entity (“Newco Fertility”) affiliated with Amulet Capital Partners, L.P. for a purchase price of $7 million
and the assumption of certain liabilities. Following the closing of this transaction, the Debtors understand
that Newco Fertility purchased all of the debt outstanding under the Debtors’ Amended and Restated
Credit Agreement, dated as of May 9, 2018 (as amended, the “Senior Credit Agreement”). As a result, as
of the date hereof, Newco Fertility is the Debtors’ senior lender and owner of the Debtors’ previously-
owned information technology assets. It is the Debtors’ understanding that Newco Fertility will be in
contact with the Chapter 7 trustee and that IntegraMed America’s network of clinics will continue to have
access to the information technology assets and related services following the date hereof.

Property Requiring Immediate Attention

In the field of human infertility, there is the capability to cryopreserve (“freeze”) human eggs, embryos
and sperm as part of standard IVF treatment for patients. Cryopreservation is a laboratory process that
allows for the preservation and storage of biological tissues, in a frozen state, over extended periods of
time. Cryopreserved biological tissues are stored in specialized cryopreservation tanks (in liquid
nitrogen) at the IVF clinics. As these cryopreserved biological materials belong to patients and represent
critical human tissue for family building, the ongoing monitoring and management of cryopreservation
tanks is imperative.

Given the Chapter 7 filing, several IntegraMed network managed IVF clinics will or may cease ongoing
operations, and the subsequent custodianship and management of cryopreservation tissue at each clinic,
on behalf of the patient and effective patient care, is a high priority. More specifically, outreach to
patients with cryopreserved tissue, the transfer of their tissue to a third party long term storage facility,
and transition period financial support for patient care wind down and cryopreservation management is
warranted in order to avoid abandonment of said cryopreserved tissue.

Further, ensuring the completion of patient care as part of a clinic wind down process is also a high
priority.

The following IntegraMed network managed IVF clinics are of particular focus for an interim
cryopreservation management process given IntegraMed’s close-in management of these locations:

    -   SIRM New York
           o Address – 425 5th Avenue #3 New York, NY 10016
           o Medical Director - Drew Tortoriello, MD
    -   SIRM Missouri
           o Address – 555 N. New Ballas Road, Suite 150 Creve Coeur, MO 63141
           o Medical Director - Molina Dayal, MD
    -   SIRM Texas
           o Address – 7777 Forest Lane, Suite C-638 Dallas, Texas 75230
           o Medical Director - Walid Saleh, MD
    -   CT Fertility (this facility previously ceased operations but still has specimens in storage)
           o Address – 10 Technology Drive Trumbull, CT 06611
           o Lab Director – Levent Keskintepe, Levent.Keskintepe@integramed.com
           o Lab Manager – Seyed Ghaemi, seyed.ghaemi@ctfertility.com
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                                 IN THE UNITED STATES BANKRUPTCY COURT
                                      FOR THE DISTRICT OF DELAWARE

                                            )
         In re:                             )                              Chapter 7
                                            )
        INTEGRAMED HOLDING CORP.,1          )                              Case No. 20-_____ (___)
                                            )
                  Debtor.                   )
                                            )
                                            )
                                            )
        In re:                              )                              Chapter 7
                                            )
        INTEGRAMED AMERICA, INC.,           )                              Case No. 20-_____ (___)
                                            )
                  Debtor.                   )
                                            )
                                            )
        In re:                              )                              Chapter 7
                                            )
        TRELLIS HEALTH LLC,                 )                              Case No. 20-_____ (___)
                                            )
                  Debtor.                   )
                                            )
                                            )
                                            )
        In re:                              )                              Chapter 7
                                            )
        INTEGRAMED FERTILITY HOLDING CORP., )                              Case No. 20-_____ (___)
                                            )
                  Debtor.                   )
                                            )
                                            )
       In re:                               )                              Chapter 7
                                            )
       REPRODUCTIVE PARTNERS, INC.,         )                              Case No. 20-_____ (___)
                                            )
                  Debtor.                   )
                                            )


         1 The Debtors in the above captioned Chapter 7 Cases, along with the last four digits of each Debtor’s federal tax
         identification number, are as follows: IntegraMed Holding Corp. (4778), IntegraMed America, Inc. (0326),
         Trellis Health LLC (8710), IntegraMed Fertility Holding Corp. (7962), Reproductive Partners, Inc. (7978),
         IntegraMed Management of Bridgeport, LLC (0302), IntegraMed Florida Holdings, LLC (6524), IntegraMed
         Management of Mobile, LLC (2766), IntegraMed Management, LLC (9197), and IntegraMed Medical Missouri,
         LLC (0494). The Debtors’ corporate headquarters is located at 2 Manhattanville Road, Purchase, NY 10577.
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                                                            )
       In re:                                               )   Chapter 7
                                                            )
       INTEGRAMED MANAGEMENT OF                             )   Case No. 20-_____ (___)
       BRIDGEPORT, LLC,                                     )
                                                            )
                      Debtor.                               )

                                                            )
       In re:                                               )   Chapter 7
                                                            )
       INTEGRAMED FLORIDA HOLDINGS, LLC,                    )   Case No. 20-_____ (___)
                                                            )
                      Debtor.                               )
                                                            )
                                                            )
       In re:                                               )   Chapter 7
                                                            )
       INTEGRAMED MANAGEMENT OF MOBILE,                     )   Case No. 20-_____ (___)
       LLC,                                                 )
                                                            )
                      Debtor.                               )

                                                            )
       In re:                                               )   Chapter 7
                                                            )
       INTEGRAMED MANAGEMENT, LLC,                          )   Case No. 20-_____ (___)
                                                            )
                      Debtor.                               )
                                                            )
                                                            )
       In re:                                               )   Chapter 7
                                                            )
       INTEGRAMED MEDICAL MISSOURI, LLC,                    )   Case No. 20-_____ (___)
                                                            )
                      Debtor.                               )
                                                            )

                CONSOLIDATED CORPORATE OWNERSHIP STATEMENT PURSUANT
                      TO FED. R. BANKR. P. 1007(a)(1), 1007(a)(3), AND 7007.1

                       Pursuant to Rules 1007(a)(1), 1007(a)(3), and 7007.1 of the Federal Rules of

         Bankruptcy Procedure, IntegraMed, America Inc., and its affiliated debtors (each a “Debtor,”

         and collectively, the “Debtors”) in the above-captioned chapter 7 cases hereby states that the

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                                                       2
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         following is a list of corporations, other than governmental units, that directly or indirectly own

         10% or more of any class of interests in the Debtors:

                          1.   IntegraMed Fertility Holding, LLC owns 100% of the equity interests in

         Debtor IntegraMed Holding Corp.

                          2.   Debtor IntegraMed Holding Corp. owns 100% of the equity interests in

         Debtor IntegraMed America, Inc.

                          3.   Debtor IntegraMed America, Inc. owns 100% of the equity interests in

         Debtor Tellis Health LLC, Debtor IntegraMed Fertility Holding Corp., and Debtor Reproductive

         Partners, Inc.

                          4.   Debtor IntegraMed Fertility Holding Corp. owns 100% of the equity

         interests in Debtor IntegraMed Management of Bridgeport, LLC, Debtor IntegraMed Florida

         Holdings, LLC, and 61% of IntegraMed Management, LLC. IntegraMed Fertility Holding Corp.

         also owns 27.5% of Class A (non-voting) shares and 50.1% of Class B (voting) shares in Debtor

         IntegraMed Management of Mobile, LLC.

                          5.   Debtor IntegraMed Management, LLC owns 100% of the voting equity

         interests in IntegraMed Medical Missouri, LLC.




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                                                          3
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                                   WRITTEN CONSENT
                                        OF THE
                                  BOARD OF DIRECTORS
                                          OF
                               INTEGRAMED AMERICA, INC.

                                           May 20, 2020
               The undersigned, being the board of directors (the “Board”) of IntegraMed
America, Inc., a Delaware corporation (the “Company”), hereby vote for, adopt, approve and
consent to the following resolutions by written consent without a meeting in accordance with the
Delaware General Corporation Law:

               WHEREAS, the Board has considered the financial and operational condition of
the Company and the Company’s business on the date hereof, the assets of the Company, the
current and long-term liabilities of the Company, and the recommendations of the Company’s legal
and restructuring advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding
under the provisions of title 11 of the United States Code (the “Bankruptcy Code”);

               WHEREAS, the Board has determined that it is in the best interest of the Company
and the Company’s stakeholders, creditors, and other interested parties to commence a case under
chapter 7 the Bankruptcy Code;

               WHEREAS, the Company is the sole member and manager of Trellis Health, LLC
(the “Subsidiary”); and

              WHEREAS, the Company is the sole stockholder of Reproductive Partners, Inc.
(“Reproductive Partners”) and IntegraMed Fertility Holding Corp. (“IMFHC”).

               NOW, THEREFORE, BE IT:

               RESOLVED, that, in the judgment of the Board, it is desirable and in the best
interests of the Company, the creditors of the Company, and other interested parties that a
voluntary petition (the “Petition”) be filed by the Company under the provisions of chapter 7 of
the Bankruptcy Code; and it is further

                RESOLVED, that the officers of the Company (each, an “Authorized Officer,” and
collectively, the “Authorized Officers”) be, and each hereby is, authorized, directed, and
empowered (i) to execute and verify the Petition and all documents ancillary thereto, and to cause
the Petition to be filed with the United States Bankruptcy Court for the District of Delaware, such
Petition to be filed at such time as an Authorized Officer shall determine and to be in the form
approved by the Authorized Officer, with the execution thereof by any such Authorized Officer
being conclusive evidence of the approval thereof by the Authorized Officers; (ii) to make or cause
to be made prior to the execution thereof any modifications to the Petition or such ancillary
documents that, in the judgment of the Authorized Officers, may be necessary, appropriate, or
desirable, and (iii) to execute, verify, and file or cause to be filed all other petitions, schedules,
lists, motions, applications, declarations, affidavits, and other papers or documents that, in the
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judgment of the Authorized Officers, may be necessary, appropriate, or desirable in connection
with the foregoing; and it is further

                RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP
(“Young Conaway”) is authorized and empowered to represent the Company as its general
bankruptcy counsel on the terms set forth in its engagement letter with the Company, which is
hereby ratified and approved, and to represent and assist the Company in carrying out its duties
under title 11 of the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights, including, without limitation, and the preparation of certain documents to be filed
simultaneously with the Petition or during the bankruptcy case; and it is further

                RESOLVED, that the Authorized Officers be, and each hereby is, authorized,
directed, and empowered from time to time to take such actions and execute and deliver such
documents as may be required or as the Authorized Officers may determine to be necessary,
appropriate, or desirable to carry out the intent and purpose of the foregoing resolutions or to obtain
the relief sought thereby, including without limitation the execution and delivery of any petitions,
schedules, lists, declarations, affidavits, and other papers or documents, with all such actions to be
taken in such manner, and all such petitions, schedules, lists, declarations, affidavits, and other
papers or documents to be executed and delivered in such form as the Authorized Officers shall
approve, the taking or execution thereof by any Authorized Officer being conclusive evidence of
the approval thereof by the Authorized Officers; and it is further

                 RESOLVED, that all of the acts and transactions relating to matters contemplated
by the foregoing resolutions, which acts and transactions would have been authorized and
approved by the foregoing resolutions except that such acts and transactions were taken prior to
the adoption of such resolutions, be, and they hereby are, in all respects confirmed, approved, and
ratified; and it is further

               RESOLVED, that any Authorized Officer of Company, on behalf of the Company
in the Company’s capacity as sole member and manager of the Subsidiary, is hereby authorized
and directed to execute the written consent of the sole member and manager of the Subsidiary in
the form attached hereto as Exhibit A; and it further

               RESOLVED, that the Board, on behalf of the Company in its capacity as the sole
stockholder of Reproductive Partners, hereby removes all members of the board of directors of
Reproductive Partners and replaces such members with Samuel Robinson; and it is further

               RESOLVED, that the Board, on behalf of the Company in its capacity as the sole
stockholder of IMFHC, hereby removes all members of the board of directors of IMFHC and
replaces such members with Jeffery Johnson.



                           [Remainder of Page Intentionally Left Blank]
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               IN WITNESS WHEREOF, the undersigned members of the Board hereby
execute this written consent effective as of the date first written above.


                                   BOARD OF DIRECTORS:



                                   /s/ Samuel Robinson
                                   Samuel Robinson




                                   /s/ Jeff Johnson
                                   Jeff Johnson




                                   /s/ Hans Thunem
                                   Hans Thunem




                                   /s/ Richard C. Pfenniger
                                   Richard C. Pfenniger
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                             Exhibit A

Written Consent of the Sole Member and Manager of Trellis Health, LLC

                             (attached)
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                                  WRITTEN CONSENT
                                       OF THE
                              SOLE MEMBER AND MANAGER
                                         OF
                                 TRELLIS HEALTH LLC

                                            May 20, 2020

             The undersigned, being the sole member and manager (the “Manager”) of Trellis
Health LLC, a Delaware limited liability company (the “Company”), hereby votes for, adopts,
approves and consents to the following resolutions by written consent without a meeting in
accordance with the Delaware Limited Liability Company Act and the Limited Liability
Company Agreement of the Company, dated June 6, 2018:
               WHEREAS, the Manager has considered the financial and operational condition
of the Company and the Company’s business on the date hereof, the assets of the Company, the
current and long-term liabilities of the Company, and the recommendations of the Company’s legal
and restructuring advisors as to the relative risks and benefits of pursuing a bankruptcy proceeding
under the provisions of title 11 of the United States Code (the “Bankruptcy Code”);

              WHEREAS, the Manager has determined that it is in the best interest of the
Company and the Company’s stakeholders, creditors, and other interested parties to commence a
case under chapter 7 the Bankruptcy Code; and

              WHEREAS, the Manager has determined it to be in the best interests of the
Company that the LLC Agreement be amended to increase the efficiency of the Company’s
bankruptcy case.

               NOW, THEREFORE, BE IT:

               RESOLVED, that, in the judgment of the Manager, it is desirable and in the best
interests of the Company, the creditors of the Company, and other interested parties that a
voluntary petition (the “Petition”) be filed by the Company under the provisions of chapter 7 of
the Bankruptcy Code; and it is further

                RESOLVED, that the officers of the Manager or Company (each, an “Authorized
Officer,” and collectively, the “Authorized Officers”) be, and each hereby is, authorized, directed,
and empowered (i) to execute and verify the Petition and all documents ancillary thereto, and to
cause the Petition to be filed with the United States Bankruptcy Court for the District of Delaware,
such Petition to be filed at such time as an Authorized Officer shall determine and to be in the form
approved by the Authorized Officer, with the execution thereof by any such Authorized Officer
being conclusive evidence of the approval thereof by the Authorized Officers; (ii) to make or cause
to be made prior to the execution thereof any modifications to the Petition or such ancillary
documents that, in the judgment of the Authorized Officers, may be necessary, appropriate, or
desirable, and (iii) to execute, verify, and file or cause to be filed all other petitions, schedules,
lists, motions, applications, declarations, affidavits, and other papers or documents that, in the
judgment of the Authorized Officers, may be necessary, appropriate, or desirable in connection
with the foregoing; and it is further
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                RESOLVED, that the law firm of Young Conaway Stargatt & Taylor, LLP
(“Young Conaway”) is authorized and empowered to represent the Company as its general
bankruptcy counsel on the terms set forth in its engagement letter with the Company, which is
hereby ratified and approved, and to represent and assist the Company in carrying out its duties
under title 11 of the Bankruptcy Code, and to take any and all actions to advance the Company’s
rights, including, without limitation, and the preparation of certain documents to be filed
simultaneously with the Petition or during the bankruptcy case; and it is further

              RESOLVED, that pursuant to Section X of the LLC Agreement, the LLC
Agreement is amended by adding the following Section XI immediately after Section X thereof:

                                             “Section X.

                                       Events of Bankruptcy

                Notwithstanding any provision hereof to the contrary, under no circumstances shall
any event of bankruptcy on the part of the Member, including without limitation any of the events
listed in Section 18-304 of the Act, cause the Member to cease to be a member of the Company.
In addition, notwithstanding any provision hereof to the contrary, the Company may put into effect
and carry out any decrees and orders of a court or judge having jurisdiction over a proceeding
pursuant to the Federal Bankruptcy Code, 11 U.S.C. §§ 101–1532, or any successor statute, in
which proceeding an order for relief has been entered with respect to the Company, and may take
any action provided or directed by such decrees and orders, in each case without a vote or other
consent or approval by the Member.”

               and it is further

                RESOLVED, that the Authorized Officers be, and each hereby is, authorized,
directed, and empowered from time to time to take such actions and execute and deliver such
documents as may be required or as the Authorized Officers may determine to be necessary,
appropriate, or desirable to carry out the intent and purpose of the foregoing resolutions or to obtain
the relief sought thereby, including without limitation the execution and delivery of any petitions,
schedules, lists, declarations, affidavits, and other papers or documents, with all such actions to be
taken in such manner, and all such petitions, schedules, lists, declarations, affidavits, and other
papers or documents to be executed and delivered in such form as the Authorized Officers shall
approve, the taking or execution thereof by any Authorized Officer being conclusive evidence of
the approval thereof by the Authorized Officers; and it is further

               RESOLVED, that all of the acts and transactions relating to matters contemplated
by the foregoing resolutions, which acts and transactions would have been authorized and
approved by the foregoing resolutions except that such acts and transactions were taken prior to
the adoption of such resolutions, be, and they hereby are, in all respects confirmed, approved, and
ratified.



                           [Remainder of Page Intentionally Left Blank]
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               IN WITNESS WHEREOF, the undersigned does hereby execute this written
consent effective as of the date first above written.




                                       MANAGER:

                                       IntegraMed America, Inc.


                                       By: /s/ Jeff Johnson
                                       Name: Jeff Johnson
                                       Title: Authorized Person




                Signature Page to Trellis Health LLC – Manager Consent
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 Fill in this information to identify the case:

 Debtor name         IntegraMed America, Inc.

 United States Bankruptcy Court for the:            DISTRICT OF DELAWARE

 Case number (if known)
                                                                                                                                   Check if this is an
                                                                                                                                    amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                           12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                 Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                 Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                 Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                 Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                 Schedule H: Codebtors (Official Form 206H)
                 Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                 Amended Schedule
                 Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                 Other document that requires a declaration     Corporate Ownership Disclosure Statement

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          May 20, 2020                            X /s/ F. Richard Dietz, Jr.
                                                                       Signature of individual signing on behalf of debtor

                                                                       F. Richard Dietz, Jr.
                                                                       Printed name

                                                                       Interim Chief Executive Officer
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                           Best Case Bankruptcy
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                       IN THE UNITED STATES BANKRUPTCY COURT
                            FOR THE DISTRICT OF DELAWARE

                                    )
In re:                              )                           Chapter 7
                                    )
INTEGRAMED HOLDING CORP.,1          )                           Case No. 20-_____ (___)
                                    )
          Debtor.                   )
                                    )
                                    )
                                    )
In re:                              )                           Chapter 7
                                    )
INTEGRAMED AMERICA, INC.,           )                           Case No. 20-_____ (___)
                                    )
          Debtor.                   )
                                    )
                                    )
In re:                              )                           Chapter 7
                                    )
TRELLIS HEALTH LLC,                 )                           Case No. 20-_____ (___)
                                    )
          Debtor.                   )
                                    )
                                    )
                                    )
In re:                              )                           Chapter 7
                                    )
INTEGRAMED FERTILITY HOLDING CORP., )                           Case No. 20-_____ (___)
                                    )
          Debtor.                   )
                                    )




    1 The  Debtors in the above captioned Chapter 7 Cases, along with the last four digits of each Debtor’s
    federal tax identification number, are as follows: IntegraMed Holding Corp. (4778), IntegraMed America,
    Inc. (0326), Trellis Health LLC (8710), IntegraMed Fertility Holding Corp. (7962), Reproductive Partners,
    Inc. (7978), IntegraMed Management of Bridgeport, LLC (0302), IntegraMed Florida Holdings, LLC
    (6524), IntegraMed Management of Mobile, LLC (2766), IntegraMed Management, LLC (9197), and
    IntegraMed Medical Missouri, LLC (0494). The Debtors’ corporate headquarters is located at 2
    Manhattanville Road, Purchase, NY 10577.
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                                                  )
       In re:                                     )   Chapter 7
                                                  )
       REPRODUCTIVE PARTNERS, INC.,               )   Case No. 20-_____ (___)
                                                  )
                 Debtor.                          )
                                                  )
                                                  )
       In re:                                     )   Chapter 7
                                                  )
       INTEGRAMED MANAGEMENT OF                   )   Case No. 20-_____ (___)
       BRIDGEPORT, LLC,                           )
                                                  )
                 Debtor.                          )

                                                  )
       In re:                                     )   Chapter 7
                                                  )
       INTEGRAMED FLORIDA HOLDINGS, LLC,          )   Case No. 20-_____ (___)
                                                  )
                 Debtor.                          )
                                                  )
                                                  )
       In re:                                     )   Chapter 7
                                                  )
       INTEGRAMED MANAGEMENT OF MOBILE,           )   Case No. 20-_____ (___)
       LLC,                                       )
                                                  )
                 Debtor.                          )

                                                  )
       In re:                                     )   Chapter 7
                                                  )
       INTEGRAMED MANAGEMENT, LLC,                )   Case No. 20-_____ (___)
                                                  )
                 Debtor.                          )
                                                  )
                                                  )
       In re:                                     )   Chapter 7
                                                  )
       INTEGRAMED MEDICAL MISSOURI, LLC,          )   Case No. 20-_____ (___)
                                                  )
                 Debtor.                          )
                                                  )



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                    DISCLOSURE OF COMPENSATION OF ATTORNEY FOR DEBTORS

             1.      Pursuant to 11 U .S.C. § 329(a) and Fed. R. Bankr. P. 2016(b), I certify that my
             firm, Young Conaway Stargatt & Taylor, LLP (“YCST”) is counsel for the above-
             captioned debtors (collectively, the “Debtors”) and that compensation paid to YCST
             within one year before the filing of the petitions in bankruptcy, or agreed to be paid to
             YCST, for services rendered or to be rendered on behalf of the Debtors in contemplation
             of or in connection with the bankruptcy cases is as follows:

             For legal services, YCST has agreed to accept.................................................$208,350.00

             Prior to the filing of this statement YCST has received...................................$208,350.00
             Balance Due.......................................................................................................$0

             2.        The source of the compensation paid to YCST was Debtor IntegraMed America,
             Inc.

             3.     YCST has not agreed to share the above-disclosed compensation with any other
             person unless they are a partner, counsel, or associate of YCST.

             4.     In return for the above-disclosed fee, YCST has agreed to pay the filing fees
             required to commence these bankruptcy cases and has further agreed to render legal
             services relating to these bankruptcy cases, including:

                    a.      Analysis of the Debtors’ financial situation, and rendering advice to the
             Debtors in determining whether to file bankruptcy petitions;

                    b.    Preparation and filing of voluntary petitions in bankruptcy and certain
             other documents that may be required;

                    c.     Representation of the Debtors at the meeting of creditors, and any
             adjourned hearings thereof.

             5.     By agreement with the Debtors, the above-disclosed fee does not include the
             representation of the Debtors in adversary proceedings and other contested bankruptcy
             matters; nor does it include any future non-bankruptcy representation.

                                              [Remainder of page intentionally left blank]




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                                              CERTIFICATION

             I hereby certify that the foregoing is a complete statement of any agreement or
             arrangement for payment to YCST for representation of the Debtors in these bankruptcy
             proceedings.

             Dated: Wilmington, Delaware            YOUNG CONAWAY STARGATT & TAYLOR, LLP
                    May 20, 2020
                                                    /s/ Andrew L. Magaziner
                                                    Andrew L. Magaziner (No. 5426)
                                                    Joseph M. Mulvihill (No. 6061)
                                                    Matthew P. Milana (No. 6681)
                                                    Rodney Square
                                                    1000 N. King Street
                                                    Wilmington, Delaware 19801
                                                    Telephone: (302) 571-6600
                                                    Facsimile: (302) 571-1253
                                                    Emails: amagaziner@ycst.com
                                                            jmulvihill@ycst.com
                                                            mmilana@ycst.com

                                                    Counsel for the Debtors




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